Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 1 of 47




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


   BRAMAN MOTORS, INC., d/b/a
   BRAMAN BMW, for itself and in the
   name of the Department of Highway
   Safety and Motor Vehicles of the State of
   Florida, for its use and benefit, and                 Case No. _________________

   PALM BEACH IMPORTS, INC., d/b/a
   BRAMAN MOTORCARS, for itself and
   in the name of the Department of
   Highway Safety and Motor Vehicles of the
   State of Florida, for its use and benefit,
   and

   TERRY L. RHODES, in her official
   capacity as the Executive Director of the
   Department of Highway Safety and
   Motor Vehicles of the State of Florida, and
   for the use and benefit of Braman Motors,
   Inc. and Palm Beach Imports, Inc.,

                   Plaintiffs,

                      - against -

   BMW OF NORTH AMERICA, LLC,

                   Defendant.




                                          COMPLAINT

         Plaintiffs Braman Motors, Inc., d/b/a Braman BMW (“Braman Miami”), and Palm Beach

  Imports, Inc., d/b/a Braman BMW West Palm Beach (“Braman WPB”) (collectively “Plaintiffs”

  or “Braman”), bring this Complaint separately and together for themselves, and in the name of the

  Florida Department of Highway Safety and Motor Vehicles (“FLHSMV” or “the Department”) for

  Braman’s use and benefit (at various times Braman, for itself and in the name of the Department
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 2 of 47




  for Braman’s use and benefit, are referenced collectively herein as “Plaintiffs”), against Defendant

  BMW of North America, LLC (“BMW”), allege as follows:

                                    NATURE OF THE ACTION

         1.      Plaintiffs Braman Miami and Braman WPB are BMW motor vehicle dealers

  located in Miami and West Palm Beach, Florida, respectively. Braman brings this Complaint

  because of BMW’s unlawful actions against Braman and all other BMW dealerships nationwide—

  actions borne out of BMW’s corporate desire to have complete control over day-to-day dealership

  operations and decision-making traditionally understood and agreed to be left in the purview of

  franchised dealers, and borne out of BMW’s need to get rid of thousands of unsold BMW vehicles

  clogging ports across the country.

         2.      Needing to deal with an overflow of unsold vehicles from foreign markets toward

  the end of 2015, BMW engaged in wrongful, illegal, and unreasonable acts that harmed Braman.

  BMW desired to artificially inflate sales of new vehicles and to dump unwanted BMW vehicles

  upon BMW’s American network of dealerships that BMW’s German corporate parent had been

  unable to sell in other parts of the world. BMW’s wrongful, coercive practice of requiring Braman

  to “punch” retail delivery reports violates Florida law, the parties’ Dealer Agreement, and

  Braman’s common-law rights. This punching scheme damages Braman by raising inventory costs

  and requiring Braman to accept additional inventory that Braman did not order and does not want.

         3.      Next, seeking to exert heretofore unheard-of control over its franchised dealers, as

  well as needing the long term ability to dump surplus vehicles onto those dealers’ lots, BMW has

  also forced modifications to the franchise agreement upon its dealerships, including Braman, that

  fundamentally altered the dealer/manufacturer relationship and what it means to be a BMW dealer.




                                                   2
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 3 of 47




         4.      Through unilateral changes to BMW’s bonus program, called the “Added-Value

  Program” (“AVP”), BMW has among other things: (1) with little warning and without the requisite

  statutory notice, arbitrarily modified the entire dealer relationship by tying new vehicle pricing to

  Braman’s total used BMW vehicle sales, when the franchise agreement speaks almost exclusively

  of new vehicle sales, service, and parts; (2) with little warning and without the requisite statutory

  notice, forced Braman (through coercive incentives on new vehicle sales) to create entirely new

  positions at its dealerships (“BMW Geniuses”) who can answer rudimentary product questions but

  cannot complete a sale or be the customer’s end-to-end point of contact, thereby creating customer

  dissatisfaction and causing lost sales as well as increasing dealer costs; (3) created a brand new

  and unusual method of tracking the quantity of service customers a dealership has and then tying

  incentive monies to that quantitative element instead of the quality of the service the dealership

  provides; and (4) in a move rife with privacy concerns and a high chance of error, created a brand

  new and unusual method of tracking customer loyalty that penalizes Braman if customers defect

  to other brands (regardless of the customer’s purpose for the defection). BMW’s actions have

  violated Florida law, the parties’ Dealer Agreements, and Braman’s common law rights.

         5.      In addition, BMW demanded real-time access to Braman’s most critical asset—its

  database of customer information, sales leads and service records—and threatened to cut Braman

  off from financial incentives Braman needs to stay competitive. BMW’s economic coercion to

  force Braman into signing data sharing agreements violates multiple provisions of Florida law and

  BMW’s duty of good faith and fair dealing.

         6.      Braman therefore brings this action against BMW for violations of Fla. Stat.

  §§ 320.60–320.70 (the “Florida Dealer Act”), for breach of contract, and for breach of the

  implied covenant of good faith and fair dealing.



                                                     3
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 4 of 47




         7.     As described more fully below, Braman, like all BMW franchisees, is a party to a

  Dealer Agreement with BMW, and is subject to various requirements in order to qualify for AVP

  funds, which account for a substantial part of Braman’s annual revenue.

         8.     The metrics, conditions, and funding under BMW’s AVP change frequently and are

  left completely to BMW’s discretion.

         9.     To receive the full AVP and the lowest acquisition prices on new vehicles, Braman

  is required, among other things, to attain whatever benchmarks BMW sets, regardless of whether

  those benchmarks comport with the nature of the franchise agreement, or whether they take into

  account Braman’s market.

         10.    BMW has arbitrarily modified Braman’s Dealer Agreement in four unreasonable

  ways: with two changes applied by BMW in 2016, and two more changes that will go into effect

  October 1, 2017. The first two AVP changes, which were made without the requisite statutory

  notice: (1) add a used BMW vehicle sales requirement, and (2) require Braman to hire BMW

  Geniuses. The most-recent AVP changes discard qualitative customer service surveys in favor of

  (1) a new service tracking algorithm focused on the quantity of service customers Braman has and

  (2) a new customer loyalty tracking algorithm.

         11.    In early 2016, BMW issued its “Added Value Program Guide,” setting forth each

  component of AVP and what Braman must do in order to receive the highest amount of trading

  margin on each new BMW vehicle it sells.

         12.    First, BMW arbitrarily and on short notice changed AVP, for the first time, to

  require that Braman sell a certain number of used BMW vehicles in order to receive the lowest

  pricing on new BMW vehicles. The Dealer Agreement speaks almost exclusively of new vehicle




                                                   4
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 5 of 47




  sales and original parts and service, which aligns closely with BMW’s goal of producing and

  selling vehicles. The Dealer Agreement mentions used vehicle sales briefly and in passing.

         13.     Second, BMW arbitrarily and on short notice changed AVP, for the first time, to

  force each Plaintiff to employ at least seven full-time “BMW Geniuses” to answer questions about

  BMW products. BMW purportedly used Apple’s “Genius Bar” as the template for its “BMW

  Geniuses,” who strictly answer questions about BMW vehicles. Unfortunately, BMW ignored that

  Braman, like other BMW dealers, already has product “Geniuses”—scores of sales and service

  professionals, trained at great expense to the dealership, who have answered customers’ questions

  for years.

         14.     BMW prohibits BMW Geniuses from handling sales from beginning to end and

  engaging in other activities that sales and service personnel typically do. In practice, the BMW

  Geniuses add little value to the dealership, as only one or two at a time are being utilized in their

  primary function. In short, BMW is forcing dealers like Braman to hire employees it neither wants

  nor needs.

         15.     In order to offset the added expense of these underutilized employees, Braman has

  its BMW Genius staff at each store perform other functions, such as prepping vehicles for delivery

  and taking customers on test drives. Unfortunately, this additional work is not enough to absorb

  the added expense of employing BMW Geniuses.

         16.     BMW’s prohibition on BMW Geniuses handling sales from beginning-to-end

  causes customer dissatisfaction and lost sales. Customers become frustrated when they deal with

  a BMW Genius as part of their initial interaction, but then, per BMW’s requirements, are handed

  off to a salesperson to complete the sale. If Braman refuses to maintain this arbitrary and




                                                   5
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 6 of 47




  unnecessary staffing requirement, BMW penalizes Braman and every single new BMW vehicle

  costs Braman more.

           17.   Third, on June 10, 2017, BMW arbitrarily changed the AVP again. For the first time,

  BMW would track service performance in an unprecedented manner. Traditionally, BMW tracked

  Braman’s service performance through customer surveys that resulted in an aggregate score, called

  a Customer Service Index, or “CSI.” CSI purports to measure the quality of Braman’s service and

  repair of BMW vehicles. If Braman achieved a certain aggregate CSI, it would receive the so-

  called “bonus” money, which BMW paid as a percentage of MSRP on each new vehicle Braman

  sells.

           18.   Now, instead of rewarding dealers for the quality of their service, BMW takes that

  quality as a given and ties the incentive to a new formulation of quantity that penalizes a dealer for

  factors beyond the dealer’s control. In a metric called “Service Effectiveness,” BMW purports to

  measure, as a percentage, the number of active service customers Braman has in relation to the

  number of BMW vehicles in operation in Braman’s Primary Market Area (“PMA”). But, as

  discussed below, this calculation can be easily skewed by local market characteristics that the

  formula does not take into account. It also automatically penalizes Braman for customers whose

  BMW vehicles may be performing adequately and do not need repair.

           19.   Fourth, BMW arbitrarily changed AVP, to track sales performance and customer

  loyalty in an unusual and unheard of manner that may also violate customers’ privacy. It also

  seems destined to be more unreliable than reliable.

           20.   Traditionally, BMW tracked the quality of Braman’s sales experience through an

  aggregate score generated from customer surveys, known as SSI. Achieving a certain SSI score

  earned Braman a so-called “bonus” under AVP. Now, after making SSI performance a threshold



                                                    6
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 7 of 47




  to gain access to the program, BMW has decided to impose a ginned-up a formula for determining

  how many returning customers Braman is getting by using tracking tools that would make even an

  average consumer concerned that Big Brother BMW is watching.

         21.     Using a third-party vendor, Experian, to access customer credit information and

  correlate data from the Florida Highway Safety and Motor Vehicles (“FLHSMV”), including

  registration information and customer addresses, BMW will track whether any of Braman’s

  previous BMW customers (from any time) have returned to the market within the last year to

  purchase another BMW from Braman, or instead have purchased a BMW or another brand of

  vehicle somewhere else.

         22.     Besides the privacy concerns (which include tracking change of address

  information, vehicle registration, and discrete purchases by individual customers from

  competitors), the formula is bound to be filled with errors.

         23.     To start, to determine whether the customer is the same, the third-party vendor relies

  upon last name and address information—but there is no guarantee that the name and address will

  be entered identically by the competing dealer, by the FLHSMV, or by the Post Office. This is

  especially concerning in South Florida, where multiple spelling variations of non-Anglicized last

  names are prevalent.

         24.     A Braman customer that moves and then purchases another vehicle from or services

  a BMW vehicle at Braman may not be counted as a returning customer. An individual in the same

  household with vastly different needs or spending power (such as college-age children or live-in

  grandparents) who buys somewhere else will be counted against Braman. Every defect in data

  gathering or processing penalizes Braman and raises the cost of new vehicles.




                                                   7
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 8 of 47




         25.     None of BMW’s changes to AVP are likely to result in Braman selling more new

  BMWs, but instead serve to reinforce BMW’s vice grip over the business interests and operations

  of every dealer in its network.

         26.     Next, BMW has engaged in a nationwide deceptive practice of coercing dealers to

  report vehicles sold (by “punching” [i.e. electronically registering] a Retail Delivery Report, or

  “RDR”), when in fact those vehicles sit unsold on dealers’ lots.

         27.     Punching RDRs results in logistical, legal, and financial headaches for consumers

  and dealers. Dealers are coerced to punch unsold vehicles in order to inflate BMW’s sales

  numbers.

         28.     This scheme places Braman in a proverbial catch-22: Unpunched vehicles have an

  inventory book cost that is higher because BMW generally gives dealers dramatic incentives to

  purchase additional vehicles and to “punch” the vehicle still in inventory (sometimes $1000 or

  more per vehicle). But if Braman punches vehicles, Braman becomes flooded with inventory it has

  trouble selling. To make matters worse, BMW’s allocation system counts punched, but still

  inventoried vehicles, as “sold” vehicles for future allocations calculations, thus indicating it should

  send Braman even more unpopular models. BMW’s coercive tactics regarding the punching of

  vehicles significantly and unfairly affects a dealer’s allocation of vehicles, a dealer’s acquisition

  cost of new vehicles, and how a dealer’s performance is measured by BMW.

         29.     By the end of 2015, BMW’s tactics regarding punching resulted in Braman having

  so many punched but unsold vehicles that BMW simply delivered new BMW deliveries on public

  streets surrounding Braman. There was nowhere else to put the vehicles that BMW had over-

  produced.




                                                    8
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 9 of 47




         30.     Finally and most recently, BMW has demanded as a condition of eligibility for AVP

  funds that Braman sign Data Sharing Agreements with BMW, which gives BMW broad access to

  Braman’s internal database of customer leads, sales information and service write-ups in real time.

  BMW has threatened to cut Braman off from portions of certain bonus elements that Braman might

  otherwise earn if Braman refuses to sign the Data Sharing Agreement, including incentives earned

  under its new Service Effectiveness metric that is scheduled to go into effect later this year.

         31.     Upon information and belief, BMW wants access to Braman’s databases in real

  time in order to adequately operate portions of its new, unilateral bonus program.

         32.     BMW’s demand came on the very day BMW claimed was the deadline for Braman

  to sign, even though BMW’s representatives previously had assured Braman’s representatives

  there would be no financial penalty for failure to sign the Data Sharing Agreements. In effect,

  BMW is using the threat of withholding AVP funds as leverage to obtain broad and unfettered

  access to Braman’s customer lists. BMW’s demands for access to Braman’s customer database

  directly violate Florida law, which prohibits distributors like BMW from requiring direct or

  indirect access to Braman’s internal databases.

         33.     Where available, Braman seeks treble damages and attorneys’ fees under state law

  for BMW’s self-serving, heavy-handed misconduct.

                                               PARTIES

         34.     Plaintiff Braman Miami is a corporation organized and existing under the laws of

  the State of Florida, with a principal place of business in Miami, Florida. Braman Miami is a

  licensed and authorized BMW dealer. Braman Miami is a “motor vehicle dealer” as defined in the

  Florida Dealer Act.




                                                    9
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 10 of 47




          35.     Plaintiff Braman WPB is a corporation organized and existing under the laws of the

  State of Florida, with a principal place of business in West Palm Beach, Florida. Braman WPB is

  a licensed and authorized BMW dealer. Braman WPB is a “motor vehicle dealer” as defined in

  the Florida Dealer Act.

          36.     BMW is a Delaware limited liability company, with its principal place of business

  in Woodcliff Lake, New Jersey. The sole member of BMW is BMW (US) Holding Corporation, a

  Delaware company with a principal place of business in Woodcliff Lake, New Jersey..

          37.     BMW purchases BMW vehicles from its German corporate parent. BMW then

  imports and sells these vehicles to franchised BMW dealers throughout the United States,

  including Braman. BMW is a “distributor” and “licensee” under the Florida Dealer Act.

                                    JURISDICTION AND VENUE

          38.     This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a)

  because the matter in controversy exceeds $75,000.00, exclusive of interest and costs, and is

  between citizens of different states.

          39.     Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because a substantial

  part of the acts giving rise to the claims occurred in this jurisdiction.

                                     FACTUAL ALLEGATIONS

          40.     BMW’s actions described herein are part of an intentional strategy, taking place

  industry-wide, to put more coercive power in the hands of motor vehicle manufacturers to the

  detriment of the dealer body.1




  1
    Jamie LaReau, “Dealers Fear Losing Control As Factory Incentives Burgeon,” Automotive
  News, http://www.autonews.com/article/20170410/RETAIL07/304109970/factory-incentives-
  hurting-dealers (last visited July 19, 2017).

                                                    10
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 11 of 47




         41.     Base trading margin on new vehicle sales used to be sufficient to support a dealer’s

  new vehicle sales operations. For decades, dealers (including Braman) relied upon these margins

  for profits in their sales operations. No longer. Now, manufacturers have markedly reduced the

  trading margin and replaced it with so-called “bonus”-based programs where the dealer must

  “earn” back the margin percentages in order to lower new vehicle wholesale pricing by hitting

  performance targets unilaterally and arbitrarily set by the manufacturer.

         42.     Because, in reality, a new vehicle dealer can have a profitable sales operation only

  if so-called “bonus” program targets are met and the additional funds are received, manufacturers

  like BMW now have wielded even greater coercive power than in the past—power to control the

  operations of dealerships and shift costs and risks to the dealer after the Dealer Agreement has

  been entered into, thereby detrimentally affecting the dealer’s investments.

         43.     BMW, like many other manufacturers, uses this unlawful leverage to serve ends

  that, through other direct means, would be illegal under the Florida Dealer Act. BMW is attempting

  to circumvent the law under the guise of “incentivizing” supposedly uniform franchise behavior.

         44.     Few BMW dealerships remain profitable or competitive without the conditional

  margin-replacement funds paid by BMW. BMW’s ability to set so-called “incentive targets” and

  manipulate and change and calculate those targets at its own whim and for its own purpose is

  strictly limited by both Florida statutes and BMW’s obligation to act fairly and in good faith.

  A.     The Dealer Agreement

         45.     Plaintiffs are BMW franchisees and are each a party to a Dealer Agreement with

  BMW.

         46.     The Dealer Agreement incorporates several other documents by reference,

  including a set of Standard Provisions.



                                                  11
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 12 of 47




         47.     The Standard Provisions impose several affirmative obligations upon BMW,

  including an obligation to help Braman’s operations:

                    BMW NA will assist Dealer in Dealer’s BMW Operations through such
                    means and upon such terms and conditions as BMW NA considers
                    necessary and appropriate….

  Standard Provisions at Paragraph 2(b).

         48.     The Standard Provisions also require BMW to “sell and deliver BMW Products to

  Dealer in accordance with this Agreement and the ability of the Dealer to store, display, sell and

  service BMW Products.” Id. at Paragraph 2(a).

         49.     “BMW Products” are defined as “BMW Vehicles and Original BMW Parts.” Id. at

  Paragraph 1(d). “BMW Vehicles” are defined as “new passenger cars manufactured by [BMWAG]

  or one of its manufacturing subsidiaries, sold by BMW NA, and bearing the trademarks of BMW.”

  Id. at Paragraph 1(e) (emphasis added).

         50.     BMW has breached these contractual obligations.

         51.     While most of the Standard Provisions deal with new vehicle sales and service, in

  Paragraph 4(g), Dealer promises to “use its best efforts to maintain in presentable condition a

  properly illuminated used car display area in which used BMW Vehicles will be prominently

  displayed.”

         52.     In Paragraph 5, Plaintiffs promised to “actively and effectively promote the sale of

  the full line” of new BMWs, and to “achieve the best possible sales performance obtainable” for

  new BMWs, which will be evaluated on the basis of “reasonable and equitable criteria.” Id. at

  Paragraph 4(a) & 4(b). There are no obligations to actively and effectively promote the sale of

  used vehicles or to achieve the best possible used vehicle sales performance.




                                                  12
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 13 of 47




          53.    In the event of termination of the Dealer, BMW promises to repurchase all new

  vehicle inventory and original BMW Parts. Id. at Paragraph 14(b)(1) & (b)(2). Dealer’s used

  vehicle inventory is not mentioned.

  B.      The Added Value Program (AVP)

          54.    BMW has imposed a “bonus” program called AVP (“Added Value Program”),

  under which BMW’s former gross sales trading margins were replaced by a conditions-based

  program, whereby BMW dealers can lower their new vehicle wholesale costs only by meeting

  certain standards and objectives arbitrarily and unilaterally set by BMW.

          55.    Thus, BMW “incentivizes” its dealers to perform certain actions and to hit certain

  metrics under the AVP by offering up to 5% of MSRP in “bonus” money for every new vehicle

  sold.

          56.    Receipt of the AVP bonus money has the effect of lowering the price a dealer pays

  for its new vehicle inventory.

          57.    The overarching structure of the AVP has resulted in a detrimental modification of

  Braman’s BMW franchise, which modification was imposed by BMW without complying with

  Florida law, including the failure to provide statutory notice under the Florida Dealer Act before

  implementing the modification.

          58.    More specifically, prior to the introduction of the AVP, Braman’s BMW franchise,

  like all BMW franchises, was structured around the base trading margin of new vehicle sales—

  i.e., the difference between the wholesale price set by BMW for dealer purchases and the

  Manufacturer’s Suggested Retail Price (“MSRP”) set by BMW for retail consumers.

          59.    BMW unilaterally changed the entire structure of Braman’s business by markedly

  reducing the dealer’s gross trading margin below levels sufficient to sustain Braman’s new vehicle



                                                 13
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 14 of 47




  sales business, and replaced that trading margin with “back-end” dealer “bonuses” that were tied

  directly to requirements, conditions, and criteria that BMW alone sets, changes, and evaluates.

         60.      Without receiving the funds by absolute adherence to BMW’s requirements,

  conditions, and criteria, it is virtually impossible for Braman to remain competitive. In short, so-

  called “bonuses” which now must be earned by compliance with BMW’s program requirements

  in reality are not “bonuses” at all because they are paid with money that used to be the dealer's

  without any conditions attached—i.e., gross trading margin.

         61.      By tying the reduction trading margin to the bonus money, the cost the dealer pays

  for its inventory is directly affected. A dealer has no choice but to try to attain the “bonus” and,

  therefore, BMW effectively has turned the incentivized conduct into a requirement of the franchise.

  The “AVP” is not “voluntary” as BMW would have its dealers and this court believe. These new

  requirements alter the core business structure and operations of a BMW dealer and constitute a

  modification of the franchise which is regulated by the Florida Dealer Act.

         62.      In January 2016 BMW published the “Added Value Program Guide,” which set

  forth each component of AVP and what Braman must do to receive the most money on each BMW

  it sells. BMW again modified and changed the Added Value Program Guide and its components

  in June 2017.

         63.      BMW implemented each of these changes without complying with the Florida

  Dealer Act’s specific notice requirements mandating manufacturers provide notice of any franchise

  modification at least ninety (90) days prior to its implementation to both the dealer and the DMV.

         64.      Four of AVP’s components are at issue in this case: (1) the new vehicle payments

  that are tied to used BMW vehicle sales (“the TPO Component”), (2) the BMW Genius condition

  (“the Genius Component”), (3) a “service effectiveness” metric that penalizes dealers for factors



                                                  14
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 15 of 47




  that are beyond any control of the dealer (“the Service Effectiveness Component”), and (4) a

  “dealer sales loyalty” metric that penalizes dealers for factors beyond any control of the dealer

  (“the Dealer Sales Loyalty Component”).

         i.      TPO Component (0.5% MSRP)

         65.     On January 5, 2016, BMW announced a change to AVP, effective April 1, 2016

  (only 87 days later), which would tie a payment equal to 0.5% MSRP on every new vehicle sold

  to the number of used BMW vehicles the dealer sold (Total Pre-Owned or “TPO”) even though

  the franchised agreement is silent as to any specific number.

         66.     If a dealer fails to sell the certain number of used BMW vehicles, required by BMW,

  the cost to the dealership of each new vehicle that quarter would be higher.

         67.     To add insult to injury, the new TPO targets were unexplained by BMW and no

  insight was given as to how they were set.

         ii.     BMW Genius Component (1.0% MSRP)

         68.     On January 5, 2016, BMW announced a change to AVP for 2016 (which

  commenced on April 1, 2016, only 87 days later) tying a payment equal to 1.0% MSRP on every

  new vehicle sold to a dealer’s employing a set number of BMW Geniuses.

         69.     BMW unilaterally sets the number of BMW Geniuses a dealer must have in order

  to receive the 1% margin payment. BMW has unilaterally prescribed set the number of BMW

  Geniuses Braman must have in order to receive the 1% margin payment.

         70.     If a dealer fails to employ sufficient numbers of BMW Geniuses, the cost to the

  dealership of each new vehicle would be higher. In other words, BMW is forcing its dealers to hire

  employees they neither want nor need. The franchise agreement is silent with respect to geniuses.




                                                  15
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 16 of 47




         71.     It costs Braman Miami almost $350,000 and Braman WPB almost $250,000 per

  year to staff BMW Geniuses at each site, which includes the Geniuses’ salary, any benefits they

  receive, and funding BMW-mandated training.

         72.     While BMW Geniuses interact initially with both new and returning customers,

  BMW Geniuses are neither trained nor authorized to continue interacting with those customers

  should the customer wish to purchase a vehicle or negotiate a deal. This is left to the sales staff.

  The friction in having to deal with multiple points of contact at a dealership can and has led to

  customer dissatisfaction and lost sales.

         iii.    Service Effectiveness Component (1.75% MSRP)

         73.     On June 10, 2017, BMW announced a change to AVP, effective October 1, 2017,

  which will tie a payment equal to 1.75% MSRP on every new vehicle sold to a new and unusual

  method of tracking service customers in Braman’s Primary Market Area (“PMA”).

         74.     In previous iterations of the AVP, BMW measured Braman’s service business using

  CSI, (Customer Satisfaction Index), which was an aggregated score based upon customer surveys

  which inquired about Braman’s quality of service work and customer care.

         75.     BMW will now supplant this qualitative metric with a quantitative one—one that

  also happens to be completely divorced from reality with how customers service their vehicles.

         76.     Under the new “Service Effectiveness” metric, BMW will score Braman on a

  percentage calculated by the total number of active service customers it has within its PMA divided

  by the total number of BMWs “in Operation” in the PMA.

         77.     The metric discounts customers that may “pump in” to Braman’s PMA—i.e.,

  customers that perhaps work in Braman’s PMA but don’t live there, and so choose to get their




                                                   16
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 17 of 47




  vehicles serviced in another dealer’s PMA. The metric discounts these “pump in” customers by

  adding them to both the numerator and denominator of the equation.

          78.     Of course, this metric completely ignores local conditions that may cause higher

  than normal “pump outs”—i.e., reasons why customers who register their vehicles in a given PMA

  may choose to service their vehicle outside the PMA, unrelated to the dealer’s quality of service.

  Such conditions may include: (1) the PMA borders a commuting destination, where units

  registered within the PMA are more likely to be serviced at the destination than at home, or (2)

  while the units may be located within a dealer’s PMA, another dealer is easier to get to, whether

  by distance or traffic patterns.

          79.     The Service Effectiveness Component also penalizes Braman for customers whose

  BMWs may be functioning properly and who choose not to perform routine maintenance and/or

  who do not drive often.

          80.     Finally, BMW radically changed a “gatekeeper/qualifier” to the Service

  Effectiveness Component to now require Braman to obtain email addresses from at least 85% of

  all service customers that come in for repairs and submit these emails to BMW in order to qualify

  for margin tied to the Service Effectiveness Component. The franchise agreement is silent with

  respect to email collections.

          81.     Even assuming Braman otherwise meets its Service Effectiveness target, BMW

  could withhold margin if Braman does not obtain email addresses from at least 85% of all service

  customers. Obtaining only 84% of service customers’ email addressed would result in Braman not

  receiving any margin tied to Service Effectiveness.

          82.     This is a dramatic departure from how BMW used to handle obtaining emails from

  service customers.



                                                 17
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 18 of 47




         83.     Under the old program, only New and Certified Pre-Owned (CPO) customers

  counted toward attainment of BMW’s goals for email capture; meaning, owners of new and recent

  model year BMWs would have to provide their email addresses for Braman to qualify for a portion

  of the incentive program.

         84.     Now this has been changed to include all service customers, whether that customer

  is an elderly grandmother still driving a 1997 BMW with no computer in her home, or a Honda

  owner stopping by Braman Miami for an emergency tire repair.

         85.     Increasing the email capture metric to require Braman to obtain email addresses

  from at least 85% of all service customers unfairly penalizes Braman as it is more likely to include

  customers that may not have, or are unwilling to give, an email address to Braman.

         86.     Moreover, an arbitrary email capture rate is not an effective measurement of how

  satisfied the public is with Braman’s service.

         87.     Should Braman fail to meet BMW’s arbitrary Service Effectiveness Component,

  Braman will lose (margin on) its new BMW inventory, which in turn will result in higher vehicle

  cost, higher customer prices, lost sales and lost profits.

         iv      Sales Loyalty Component (1.75% MSRP)

         88.     On June 10, 2017, BMW announced a change to AVP, effective October 1, 2017,

  which will tie a payment equal to 1.75% MSRP on every new vehicle sold to a new and

  unprecedented method of tracking returning sales customers in Braman’s PMA.

         89.     Traditionally, BMW tracked the quality of Braman’s sales experience through an

  aggregate score generated from customer surveys, known as SSI (Sales Satisfaction Index).

  Achieving a certain SSI score earned Braman a so-called “bonus” under AVP.




                                                    18
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 19 of 47




          90.    Now, opting to emphasize quantity over quality, BMW has created a formula for

  determining how many returning customers Braman is getting, by using tracking tools that, inter

  alia, raise privacy concerns.

          91.    Using customer credit information of a third-party credit reporting company,

  Experian, and the correlation and analysis of data from the FLHSMV, including registration

  information and customer addresses, BMW will be tracking whether any of Braman’s previous

  BMW customers (from any time) have returned to the market within the last year to purchase

  another BMW from Braman, or instead have purchased any brand of any type of vehicle anywhere

  else.

          92.    Besides the privacy concerns (which include tracking change of address

  information, vehicle registration, and discrete purchases by individual customers from

  competitors), the formula is bound to be filled with errors. To start, to determine whether the

  customer is the same person on the vehicle’s list, the third-party vendor relies upon last name and

  address information—but there is no guarantee that the name and address will be entered

  identically by the competing dealer, by the FLHSMV, or by the Post Office, especially in southern

  Florida, where multiple spelling variations of non-Anglicized last names are more prevalent.

          93.    A Braman customer who moves and then purchases another vehicle from Braman

  may not be counted as a returning customer. An individual in the same household with the same

  last name (such as college-age children) that buys somewhere else will be counted against Braman.

  Every defect in data gathering or processing will make it more likely that Braman cannot hit

  whatever arbitrary target for customer loyalty BMW sets.

          94.    Moreover, Braman will have no way of checking for these possible defects in the

  process. Experian, the third-party vendor, will not release customer lists that BMW is using to



                                                  19
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 20 of 47




  punish Braman, out of privacy concerns. If Experian has messed up and there are “Return to

  Market” events counted against Braman that were not actually disloyal customers (such as the

  misspelled name or failure to update a moved address), Braman will have no way to hold Experian

  and BMW accountable.

          95.     Braman will also be penalized if one individual in the same household buys

  multiple vehicles for the entire family, but has different needs for different vehicles. For example,

  a parent of a growing family that once bought a BMW from Braman for commuting, but now buys

  a minivan for the family, will count against Braman, despite the fact that BMW does not make

  minivans.

          96.     Indeed, BMW’s own materials on the Sales Loyalty Component confirm that a

  customer that once purchased a BMW sports car, a Z4, will be deemed “disloyal” if that same

  customer leases a Ford F-150, a pickup truck, even though BMW does not offer any pickup trucks

  or comparable vehicles.

          97.     Should Braman fail to meet BMW’s arbitrary Sales Loyalty Component, Braman

  will not receive the associated bonus payment and therefore, will be charged higher costs for its

  new BMW inventory, which in turn will result in higher customer prices, lost sales and lost profits.

  C.      BMW Engages In Deceptive Practice of “Punching” RDRs

          98.     Due to thousands of new vehicles piling up at U.S. ports because of declining

  global demand, BMW engaged in a nationwide deceptive practice of coercing dealers to report

  vehicles as sold (by “punching” a Retail Delivery Report, or “RDR”), when in fact those vehicles

  sit unsold on dealers’ lots.

          99.     Punching RDRs of unsold vehicles creates logistical, legal, and financial problems

  for both consumer and dealers.



                                                   20
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 21 of 47




           100.   BMW has created fictional “punching” categories for this activity. Vehicles

  punched as “sales demo” immediately have their warranties begin to run; a fact customers fail to

  understand until they bring their vehicles in for service during the gap between when the customer

  believes the warranty will expire and when it actually expired. This results in customers being irate

  with the dealership right around the time they may be considering purchasing another vehicle.

           101.   Vehicles punched as “Spec 8” do not have their warranties begin to run, but the

  manner in which the RDR is punched may result in the end consumer being left off of critical

  recall lists.

           102.   Whether punched as “sales demo” or “Spec 8,” all punched vehicles cause

  headaches for dealers. BMW coerces dealers to purchase and punch more vehicles than dealers

  need or can sell in order to inflate BMW’s sales numbers. Ultimately, the dealer will have to

  dispose of the punched vehicles, alongside its new and used inventory.

           103.   Dealers, therefore, face a dilemma: one on hand, unpunched vehicles bear a higher

  inventory cost, as BMW gives dealers significant incentives to punch inventory (sometimes $1000

  or more per vehicle). But on the other hand, maintaining an excessive inventory costs dealerships

  a lot of money in floorplan financing and overhead, and may require dealerships to sell them at a

  loss in order to purge itself of the unwanted/unneeded vehicles. Further still, BMW counts punched

  vehicles as “sales” immediately in its allocation system, thereby sending more unpopular models

  to beleaguered dealers like Braman.

           104.   Punching was so rampant that, by the end of 2015, Braman Miami received multiple

  parking tickets and citations from the City of Miami. Braman had so many punched and unsold

  vehicles that BMW dropped new deliveries on public streets. There was nowhere else to put them.




                                                   21
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 22 of 47




         105.    After that, much to the consternation of BMW, Braman refused to punch any unsold

  vehicles, and Braman suffered dearly for it. For the better part of the last year and a half, Braman

  has refused to artificially punch vehicles. Braman has lost substantial incentive money for its

  refusal to comply with BMW’s deceptive scheme.

  D.     The Data Sharing Agreement

         106.    On June 17, 2016, BMW first presented Data Sharing Agreements for Braman’s

  two BMW locations. The Data Sharing Agreements require Braman to give BMW real-time access

  to its Customer Relationship Management database (“CRM”) and its Dealership Management

  System (“DMS”).

         107.    In subsequent conversations between representatives for Braman and BMW, BMW

  assured Braman that there would be no financial penalty if Braman refused to sign the Data Sharing

  Agreements.

         108.    Then suddenly, on November 30, 2016 at 2:18 pm, representatives from BMW sent

  representatives from Braman an email stating that “If the Nov 30 deadline for data sharing

  agreements is not met for a Center, they will not be eligible for their Tier 2 or Tier 3 parts bonus

  categories.”

         109.    A little less than ten hours before BMW’s deadline was the first time BMW tied a

  financial penalty to Braman refusing to sign the Data Sharing Agreements. The message was

  clear—either sign the agreements or forfeit incentives critical to profitability.

         110.    Upon information and belief, the signing of the Data Sharing Agreement is also a

  prerequisite to receive the financially lucrative Service Effectiveness bonus, discussed above.

         111.    As discussed below, BMW’s tactics and coercion in attempting to get Braman to

  sign the Data Sharing Agreements violate multiple provisions of Florida law.



                                                   22
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 23 of 47




  E.     The Florida Dealer Act: Coercion, Promotional Discrimination, and Loaner Cost
         Reimbursement

         112.    The Florida Dealer Act provides robust and broad protection to dealers against

  potentially coercive behavior from manufacturers.

         113.    The Dealer Act overrides the broad power and discretion that manufacturers have

  given themselves in their franchise agreements. Its manifest purpose is to protect automobile

  dealers from abuse and overreaching by manufacturers:

                 It is the intent of the Legislature to protect the public health, safety, and
                 welfare of the citizens of this state by regulating the licensing of motor
                 vehicle dealers and manufacturers, maintaining competition, providing
                 consumer protection and fair trade….

  Fla. Stat. § 320.605.

         114.    The Legislature has amended the Dealer Act several times to address continuing

  abuses by manufacturers against dealers and ever-evolving business practices.

         115.    The Dealer Act prohibits numerous unfair business practices by manufacturers. See

  generally Dealer Act Fla. Stat. § 320.64:

                 A licensee is prohibited from committing the following acts:

                 (5) The applicant or licensee has coerced or attempted to coerce any
                 motor vehicle dealer into accepting delivery of any motor vehicle or
                 vehicles or parts or accessories therefor or any other commodities
                 which have not been ordered by the dealer.

                 (6) The applicant or licensee has coerced or attempted to coerce any
                 motor vehicle dealer to enter into any agreement with the licensee.

                 (34) The applicant or licensee, after the effective date of this
                 subsection, has included in any franchise agreement with a motor
                 vehicle dealer a mandatory obligation or requirement of the motor
                 vehicle dealer to purchase, sell, or lease, or offer for purchase, sale
                 or lease, any quantity of used motor vehicles.

                 (41) The applicant or licensee has established, implemented, or
                 enforced criteria for measuring the sales or service performance of
                 any of its franchised motor vehicle dealers in this state which have

                                                    23
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 24 of 47




                 a material or adverse effect on any motor vehicle dealer and which:
                 (1) are unfair, unreasonable, arbitrary, or inequitable.

         116.    Further, under Fla. Stat. § 320.641, BMW is prohibited from modifying the

  franchise agreement without 90-days’ notice and proper justification for the change:

                 Fla. Stat. § 320.641. Discontinuations, cancellations, nonrenewals,
                 modifications, and replacement of franchise agreements.
                 (1)(a) An applicant or licensee shall give written notice to the motor
                 vehicle dealer and the department of the licensee's intention to
                 discontinue, cancel, or fail to renew a franchise agreement or of the
                 licensee's intention to modify a franchise or replace a franchise with
                 a succeeding franchise, which modification or replacement will
                 adversely alter the rights or obligations of a motor vehicle dealer
                 under an existing franchise agreement or will substantially impair
                 the sales, service obligations, or investment of the motor vehicle
                 dealer, at least 90 days before the effective date thereof, together
                 with the specific grounds for such action.
                 (b) The failure by the licensee to comply with the 90-day notice
                 period and procedure prescribed herein shall render voidable, at the
                 option of the motor vehicle dealer, any discontinuation, cancellation,
                 nonrenewal, modification, or replacement of any franchise
                 agreement. Designation of a franchise agreement at a specific
                 location as a “nondesignated point” shall be deemed an evasion of
                 this section and constitutes an unfair cancellation.

         117.    Under Fla. Stat. § 320.646, BMW is prohibited from requiring Braman to provide

  direct access to Braman’s database or from avoiding its obligation to indemnify Braman for any

  liability arising from Braman’s provision of customer data to BMW:

                 Fla. Stat. § 320.646. Consumer data protection.
                 (2) Notwithstanding the provisions of any franchise agreement, with
                 respect to consumer data a licensee or a third party acting on behalf
                 of a licensee:
                 (c) May not require that a motor vehicle dealer grant the licensee or
                 a third party direct or indirect access to the dealer’s data
                 management system to obtain consumer data. A licensee must
                 permit a motor vehicle dealer to furnish consumer data in a widely
                 accepted file format, such as comma delimited, and through a third-
                 party vendor selected by the motor vehicle dealer. However, a
                 licensee may access or obtain consumer data directly from a motor
                 vehicle dealer’s data management system with the express consent

                                                  24
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 25 of 47




                 of the dealer. The consent must be in the form of a written document
                 that is separate from the parties’ franchise agreement, is executed by
                 the motor vehicle dealer, and may be withdrawn by the dealer upon
                 30 days’ written notice to the licensee.
                 (d) Must indemnify the motor vehicle dealer for any third-party
                 claims asserted against or damages incurred by the motor vehicle
                 dealer to the extent caused by access to, use of, or disclosure of
                 consumer data in violation of this section by the licensee, a third
                 party acting on behalf of the licensee, or a third party to whom the
                 licensee has provided consumer data.

         118.    Under Fla. Stat. § 320.696, BMW is prohibited from recovering or attempting to

  recover any costs associated with providing retail compensation to Braman for warranty parts and

  labor sales and is prohibited from attempting to influence the prices for which Braman sells parts

  or labor in retail customer repairs:

                 Fla. Stat. § 320.696. Warranty Responsibility.
                 (6) A licensee shall not recover or attempt to recover, directly or
                 indirectly, any of its costs for compensating a motor vehicle dealer
                 under this section.
                 (7) A licensee shall not require, influence, or attempt to influence a
                 motor vehicle dealer to implement or change the prices for which it
                 sells parts or labor in retail customer repairs. A licensee shall not
                 implement or continue a policy, procedure, or program to any of its
                 dealers in this state for compensation under this section which is
                 inconsistent with this section.

         119.    BMW has breached the Florida Dealer Act in multiple ways.

         120.    Under Fla. Stat. § 320.64(5), BMW has illegally coerced or attempted to coerce

  Plaintiffs to accept more inventory than Plaintiffs wants or needs by: (i) requiring Plaintiffs to

  punch RDRs and initiate turn-and-earn allocations Plaintiffs would not otherwise initiate, and (ii)

  creating artificial and economically unreasonable sales targets of both new and used vehicles

  through unilateral modifications to the AVP.




                                                  25
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 26 of 47




         121.   Under Fla. Stat. § 320.64(6), BMW has illegally coerced or attempted to coerce

  Braman into entering into the Data Sharing Agreements with BMW, by using artificial high-

  pressure tactics (such as the last-minute announcement of the loss of bonus money) and economic

  coercion.

         122.   Under Fla. Stat. § 320.64(34), BMW has illegally modified the franchise

  agreements between BMW and Braman to effectively require Braman to sell a certain number of

  used BMW vehicles by economically coercing Braman and threatening to unlawfully increase the

  price of new BMW vehicles.

         123.   Under Fla. Stat. § 320.64(41)(a), BMW has illegally established criteria for

  measuring Braman’s sales performance that is unfair, unreasonable, arbitrary or inequitable and

  has a material or adverse effect on Braman.

         124.   Under Fla. Stat § 320.64(41)(a), BMW has illegally established criteria for

  measuring Braman’s service performance that is unfair, unreasonable, arbitrary or inequitable and

  has a material or adverse effect on Braman.

         125.   Under Fla. Stat. § 320.641, BMW has unlawfully modified the basic franchise

  agreement between Plaintiffs and BMW by reducing the trading margin on all vehicles below an

  amount sufficient to sustain the business and instead replacing that margin with effectively

  coercive but euphemistically titled “bonuses” subject to the continuous vagaries and whims of

  BMW’s corporate decision-making.

         126.   Also under Fla. Stat. § 320.641, BMW has unlawfully modified the basic franchise

  agreement between Plaintiffs and BMW by requiring Plaintiffs to sell certain numbers of used

  BMW vehicles or else pay higher prices for new vehicles from BMW, when the franchise




                                                 26
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 27 of 47




  agreement between Plaintiffs and BMW discusses sales of new vehicles only, and only requires

  Plaintiffs to use “best efforts” to have a used vehicle showroom.

         127.    Under Fla. Stat. § 320.646, BMW has unlawfully required that Braman give BMW

  or a third-party vendor direct or indirect access to its dealer management system, through an

  agreement that unlawfully requires Braman to indemnify BMW for granting that access.

         128.    Under Fla. Stat. § 320.696(6), BMW has unlawfully attempted to recover its costs

  for compensating Braman under Florida law for warranty parts and labor sales.

         129.    Under Fla. Stat. § 320.696(7), BMW has unlawfully attempted to influence the

  price at which Braman sells labor and parts to retail customers.

         130.    BMW has also violated Fla. Stat. § 320.696(7) by implementing a program for

  warranty parts and labor reimbursement that is inconsistent with the Florida Dealer Act.

         131.    Among other things, the Florida Dealer Act authorizes a motor vehicle dealer to

  obtain injunctive relief against licensees such as Audi for violations of the Act. Under Fla. Stat. §

  320.695:

                 In addition to the remedies provided in this chapter, and
                 notwithstanding the existence of any adequate remedy at law, the
                 department [FLHSMV], or any motor vehicle dealer in the name of
                 the department and state and for the use and benefit of the motor
                 vehicle dealer, is authorized to make application to any circuit court
                 of the state for the grant, upon a hearing and for cause shown, of a
                 temporary or permanent injunction, or both, restraining any person
                 . . . from violating or continuing to violate any of the provisions of
                 ss. 320.60-320.70, or from failing or refusing to comply with the
                 requirements of this law . . . . Such injunction shall be issued
                 without bond. A single act in violation of the provisions of ss.
                 320.60-320.70 shall be sufficient to authorize the issuance of an
                 injunction.


                                           COUNT ONE
                     Violation of the Florida Dealer Act, Fla. Stat. § 320.64(5)



                                                   27
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 28 of 47




         132.    Plaintiffs repeat and re-allege paragraphs 1–131 as if fully set forth herein.

         133.    This is an action for damages pursuant to Fla. Stat. § 320.697 for BMW’s violation

  of Fla. Stat. § 320.64(5).

         134.    BMW has coerced Braman to punch RDRs for new vehicles that have not been sold

  to consumers in order to artificially and deceptively inflate BMW’s sales numbers.

         135.    The coercion has come in the form of artificially high sales targets and deep

  discounts on new vehicles, both of which Braman must take advantage of to stay competitive.

         136.    Failure by Braman to hit its sales objective results in the loss of the BMW AVP

  bonus monies across all new vehicles sold by Braman in a given quarter.

         137.    Braman is therefore faced with the choice of losing a per-vehicle credit it needs to

  stay competitive in the marketplace and to remain profitable, or punching the RDRs of vehicles

  Braman has not sold and which cost Braman money to keep in inventory.

         138.    This constitutes coercion or attempted coercion by BMW in violation of Fla. Stat.

  § 320.64(5).

         139.    Plaintiffs have been damaged (1) by the additional costs of the punched vehicles

  remaining in Braman’s inventory and leading to excessive overhead while Braman acceded to

  BMW’s coercion; (2) loss of per-vehicle credits necessary to stay competitive while Braman have

  refused to give in to BMW’s coercion.

         140.    BMW has also coerced or attempted to coerce Braman into accepting additional

  inventory it does not want and for which it makes no economic sense to purchase, in order to meet

  the artificial and economically unreasonable sales targets of both new and used vehicles BMW has

  set through unilateral modifications to the AVP.




                                                     28
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 29 of 47




         141.    Braman seeks a preliminary and permanent injunction, preventing BMW from

  continuing to coerce Braman into purchasing unwanted vehicles through either fraudulent

  punching schemes or economically unreasonable sales targets for new and used vehicles.

         142.    Braman has been damaged by BMW’s coercive behavior in an amount to be

  determined at trial.

         WHEREFORE, Braman demands entry of a judgment against BMW: (1) for a preliminary

  and permanent injunction on behalf of the Department of Highway Safety and Motor Vehicles and

  the State of Florida, for the use and benefit of Braman, against BMW’s coercive conduct,

  prohibiting BMW from continuing to coerce Braman into purchasing unwanted vehicles through

  either fraudulent punching schemes or economically unreasonable sales targets for new and used

  vehicles; (2) for treble damages, attorneys’ fees and costs; and (3) for such other relief this Court

  deems just and equitable.

                                            COUNT II
                     Violation of the Florida Dealer Act, Fla. Stat. § 320.64(6)

         143.    Plaintiffs repeat and reallege paragraphs 1–131 as if fully set forth herein.

         144.    This is an action for damages pursuant to Fla. Stat. § 320.697 for BMW’s violation

  of Fla. Stat. § 320.64(6).

         145.    BMW has demanded that Braman sign Data Sharing Agreements that give BMW

  real-time access to Braman’s DMS and CRM. BMW will financially penalize Braman should it

  fail to sign the Data Sharing Agreements.

         146.    This constitutes attempted coercion to force Braman to make an agreement with

  BMW in violation of Fla. Stat. § 320.64(6).

         147.    Braman seeks a preliminary and permanent injunction against BMW’s unlawful

  behavior; namely, Braman seeks an order: (i) prohibiting BMW from taking any retaliatory action


                                                   29
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 30 of 47




  against Braman for Braman’s failure to sign the data sharing agreement, and (ii) preventing BMW

  from reinstituting any such data sharing agreement in the future.

         148.     Braman has also been damaged by BMW’s unlawful behavior in an amount to be

  determined at trial.

         WHEREFORE, Braman demands entry of a judgment against BMW: (1) for a preliminary

  and permanent injunction on behalf of the Department of Highway Safety and Motor Vehicles and

  the State of Florida, for the use and benefit of Braman, requiring BMW to restore the previous

  status quo through an order: (i) prohibiting BMW from taking any retaliatory action against

  Braman for Braman’s failure to sign the data sharing agreement, (ii) preventing BMW from

  reinstituting any such data sharing agreement in the future; (2) for treble damages, attorneys’ fees

  and costs; and (3) for such other relief this Court deems just and equitable.

                                             COUNT III
                     Violation of the Florida Dealer Act, Fla. Stat. § 320.64(34)

         149.     Plaintiffs repeat and reallege paragraphs 1–131 as if fully set forth herein.

         150.     This is an action for damages pursuant to Fla. Stat. § 320.697 for BMW’s violation

  of Fla. Stat. § 320.64(34).

         151.     BMW has effectively created a “mandatory requirement or obligation” upon

  Braman to sell a certain number of used BMW vehicles by threatening to increase new vehicle

  pricing if Braman does not meet those targets.

         152.     This constitutes an unlawful used vehicle sales requirement in violation of Fla. Stat.

  § 320.64(34).

         153.     Braman seeks a preliminary and permanent injunction against BMW’s unlawful

  behavior; namely, Braman seeks an order: (i) voiding the TPO Bonus program as an unlawful

  requirement that Braman sell any quantity of used BMW vehicles, and (ii) preventing BMW from


                                                   30
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 31 of 47




  reinstituting any used BMW vehicle purchase, sale or lease requirement in any form, including

  future bonus, incentive, or holdback programs.

         154.    Braman has also been damaged by BMW’s unlawful behavior in an amount to be

  determined at trial.

         WHEREFORE, Braman demands entry of a judgment against BMW: (1) for a preliminary

  and permanent injunction on behalf of the Department of Highway Safety and Motor Vehicles and

  the State of Florida, for the use and benefit of Braman, requiring BMW to restore the previous

  status quo through an order: (i) the TPO Bonus program as an unlawful requirement that Braman

  sell any quantity of used vehicles, (ii) preventing BMW from reinstituting any used vehicle

  purchase, sale or lease requirement in any form, including future bonus, incentive, or holdback

  programs; (2) for treble damages, attorneys’ fees and costs; and (3) for such other relief this Court

  deems just and equitable.


                                           COUNT IV
          Violation of the Florida Dealer Act, Fla. Stat. § 320.64(41)(a) – Sales Loyalty

         155.    Plaintiffs repeat and reallege paragraphs 1–131 as if fully set forth herein.

         156.    This is an action for damages pursuant to Fla. Stat. § 320.697 for BMW’s violation

  of Fla. Stat. § 320.64(41)(a) for implementing criteria for measuring Plaintiffs’ sales performance

  that has a material or adverse effect on Plaintiffs and is unfair, unreasonable, arbitrary or

  inequitable.

         157.    Sales Loyalty is criteria established, implemented or enforced by BMW to measure

  Plaintiffs’ sales performance.

         158.    Sales Loyalty measures Plaintiffs’ sales performance by tracking Plaintiffs’ sales to

  previous customers and penalizing Plaintiffs if their sales to prior customers fall below certain

  benchmarks.

                                                   31
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 32 of 47




          159.    BMW calculates Sales Loyalty by dividing “Loyal Events” by the number of

  “Return to Market Events” that occur over the past rolling 12 months.

          160.    “Loyal Events” are “previous customers who still own a new or certified pre-owned

  BMW vehicle and return to market in the past 12 months to purchase another new or certified

  vehicle” from the dealer.

          161.    “Return to Market Events” are “previous customers who still own a new or certified

  pre-owned BMW vehicle and returned to market during the past 12 months to purchase any new

  or certified pre-owned vehicle.”

          162.    Plaintiffs’ Sales Loyalty is compared against “peer groups” based on the amount of

  sales a peer dealer has in Plaintiffs’ markets.

          163.    If Plaintiffs’ Sales Loyalty falls below the benchmarks calculated using the peer

  groups, Plaintiffs forfeit margin equal to 1.75%. On a $60,000 BMW, the Plaintiffs would lose

  $1050 in margin.

          164.    Falling below Plaintiffs’ Sales Loyalty benchmarks has a material and adverse

  effect on Plaintiffs by, among other things, making them less price-competitive versus other

  dealers.

          165.    Sales Loyalty is unfair, unreasonable, arbitrary or inequitable namely because,

  among other things, its inputs (Loyal Events and Return to Market Events) are almost entirely

  outside of Plaintiffs’ control.

          166.    For example, if a customer, who purchased a BMW 3 series coupe when he was

  single, gets married and becomes a father of triplets, this customer would likely wish to trade his

  smaller BMW coupe in for a vehicle that can accommodate the size of his family.




                                                    32
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 33 of 47




         167.    BMW does not offer a minivan for sale, and therefore, this hypothetical customer’s

  purchase of a Chrysler Pacifica (a minivan) would count against Plaintiffs as a “Return to Market

  Event” and put their margin at risk.

         168.    Indeed, BMW’s own materials regarding Sales Loyalty confirm that the sale of an

  F-150 pickup truck to a Braman customer would count against Braman’s Sales Loyalty metric,

  despite the fact that BMW does not offer any pickup trucks in its vehicle lineup.

         169.    By way of another example, Sales Loyalty is also unfair, unreasonable, arbitrary or

  inequitable because it completely ignores other factors that are sound indicators of sales

  performance.

         170.    If Plaintiffs sold 500 vehicles in a given period, and then increased their sales to

  1000 vehicles but none of these vehicles were sold to the original 500 purchasers, then Plaintiffs’

  margin would be at risk of forfeiture. In this scenario, BMW’s sales performance measurement

  completely ignores that Plaintiffs doubled their sales and actually penalizes them for otherwise

  strong performance by taking away margin.

         171.    BMW’s Sales Loyalty lowers Braman’s margin on new vehicles if they do not meet

  BMW’s unfair, unreasonable, arbitrary or inequitable sales performance standards.

         172.    As a result, Plaintiffs have been harmed by BMW’s violation of Fla. Stat. §

  320.64(41)(a) in an amount to be determined at trial.

         WHEREFORE, Braman demands entry of a judgment against BMW: (1) for treble

  damages, attorneys’ fees and costs; and (2) for such other relief this Court deems just and equitable.


                                           COUNT V
      Violation of the Florida Dealer Act, Fla. Stat. § 320.64(41)(a) – Service Effectiveness

         173.    Plaintiffs repeat and reallege paragraphs 1–131 as if fully set forth herein.



                                                   33
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 34 of 47




         174.       This is an action for damages pursuant to Fla. Stat. § 320.697 for BMW’s violation

  of Fla. Stat. § 320.64(41)(a) for implementing criteria for measuring Plaintiffs’ service

  performance that has a material or adverse effect on Plaintiffs and is unfair, unreasonable, arbitrary

  or inequitable.

         175.       Service Effectiveness is criteria established, implemented or enforced by BMW to

  measure Plaintiffs’ service performance.

         176.       Service Effectiveness is measured by the following formula:




         177.       “Service Effectiveness” is defined as “a quantitative metric driven by the number

  of unique VINs that service at a dealership within a 15 month time period for [customer pay] and

  or Warranty work.”

         178.       An “Active Customer” is a person who has returned to a given dealership at least

  once in the past 15 months for a [customer pay] or Warranty vehicle service repair order that has

  generated revenue.”

         179.       A “Pump In Customer” is a “person who has visited a dealer for service, either

  [customer pay] or Warranty, but is not registered to that particular [dealer’s] PMA.”

         180.       A “PMA” or “Primary Market Area” is “the area within a defined market designated

  for a particular [dealer] upon which the data calculations are based and for which the [dealer] has

  responsibility.”

         181.       “Units in Operation” or “UIO” is “a working order vehicle registered by the state

  and sold by your dealership or other BMW dealerships.”



                                                    34
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 35 of 47




         182.      Plaintiffs’ Service Effectiveness is compared against “peer groups” based on the

  amount of sales a peer dealer has in Plaintiffs’ markets.

         183.      If Plaintiffs’ Service Effectiveness falls below the benchmarks calculated using the

  peer groups, Plaintiffs forfeit margin equal to 1.75%. On a $60,000 BMW, the Plaintiffs would

  lose $1050 in margin.

         184.      Falling below Plaintiffs’ Service Effectiveness benchmarks has a material and

  adverse effect on Plaintiffs by, among other things, making them less price-competitive versus

  other dealers.

         185.      Service Effectiveness is unfair, unreasonable, arbitrary or inequitable namely

  because it completely ignores actual customer satisfaction in favor of metrics BMW has created

  from whole cloth.

         186.      For example, Service Effectiveness ignores customer loyalty (i.e. whether the same

  customer returns to the same dealership for multiple services over a period of time) and any type

  of survey-based system utilized to quantify customer satisfaction.

         187.      This metric also penalizes dealers, like Braman, who sell vehicles outside of their

  market.

         188.      Convenience is important to consumers, who are often unwilling to drive many

  miles to service their vehicle.

         189.      Customers who purchase vehicles from Braman but reside outside of Braman’s

  PMA are more likely to take their vehicles to the local BMW dealer near their work or residence

  rather than to drive back to Braman for service.




                                                     35
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 36 of 47




         190.    Even if a customer resides in Braman’s PMA, it may be more convenient for them

  to have their vehicle serviced elsewhere based on the proximity of a competing BMW dealer or

  independent repair shop to their place of work or residence.

         191.    This phenomena is more acute in the “maintenance and light repair” market such

  as tire replacement, oil and filter changes, fluid changes, and brake services.

         192.    These customers are sensitive to factors such as cost, the amount of time it takes to

  have these simple services performed, and whether the service facility is close by.

         193.    Under Service Effectiveness, Braman gets no credit for its Pump in Sales to other

  markets but instead is penalized for these sales since these customers are less likely to return to

  Braman for service on their vehicles.

         194.    BMW’s Service Effectiveness lowers Braman’s margin on new vehicles if they do

  not meet BMW’s unfair, unreasonable, arbitrary or inequitable service performance standards.

         195.    As a result, Plaintiffs have been harmed by BMW’s violation of Fla. Stat. §

  320.64(41)(a) in an amount to be determined at trial.

         WHEREFORE, Braman demands entry of a judgment against BMW: (1) for treble

  damages, attorneys’ fees and costs; and (2) for such other relief this Court deems just and equitable.


                                             COUNT VI
                      Violation of the Florida Dealer Act, Fla. Stat. § 320.641

         196.    Plaintiffs repeat and reallege paragraphs 1–131 as if fully set forth herein.

         197.    This is an action for damages pursuant to Fla. Stat. § 320.697 for BMW’s violation

  of Fla. Stat. § 320.641.

         198.    BMW notified Plaintiffs just 87 days prior to a major change to their business

  relationship that, for the first time, BMW would be tracking used BMW vehicle sales and raising

  prices on new vehicles if Braman did not hit those targets.

                                                   36
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 37 of 47




          199.   Nothing in the Franchise Agreement or the Standard Provisions thereto would let

  Plaintiffs know that BMW intended to fundamentally alter the margins on new vehicles by

  reducing said margins in favor of incentives tied to used BMW vehicle sales.

          200.   BMW’s change to AVP for TPO Bonus on 87 days’ notice constitutes an unfair

  modification to the franchise agreement, in violation of Fla. Stat. § 320.641.

          201.   BMW also notified Plaintiffs just 87 days prior to a major change to their business

  relationship that, for the first time, BMW would be tying 1.5% of MSRP of every new vehicle to

  the hiring of seven full-time BMW Geniuses for both Braman Miami and Braman WPB.

          202.   Nothing in the Franchise Agreement or the Standard Provisions thereto would let

  Plaintiffs know that BMW intended to fundamentally alter Plaintiffs’ margins on new vehicles by

  forcing them to create an additional layer of employees to handle customers’ questions and do little

  else.

          203.   BMW’s change to AVP for BMW Geniuses on 87 days’ notice also constitutes an

  unfair modification to the franchise agreement, in violation of Fla. Stat. § 320.641.

          204.   BMW also recently notified Braman that, for the first time, BMW will track service

  by a new methodology called Service Effectiveness, which requires dealers to convert as many

  current BMW owners into Braman service customers as possible, regardless of whether those

  BMW customers have issues that need service.

          205.   Nothing in the Franchise Agreement or the Standard Provisions thereto would let

  Braman know that it should be focused on the quantity of service customers instead of the quality

  of service.

          206.   BMW’s change to AVP for Service Effectiveness also constitutes an unfair

  modification to the franchise agreement, in violation of Fla. Stat. § 320.641.



                                                  37
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 38 of 47




          207.    BMW also recently notified Braman that, for the first time, BMW will track

  customer loyalty by an invasive, third-party tracking system that is prone to error and punishes

  Braman for any purchases made by customers for alternative purposes (such as minivans or pickup

  trucks).

          208.    Nothing in the Franchise Agreement or the Standard Provisions thereto would let

  Plaintiffs know that it would have to compete with other brand manufacturers in vehicle segments

  that BMW does not offer.

          209.    BMW’s change to AVP for Customer Loyalty also constitutes an unfair

  modification to the franchise agreement, in violation of Fla. Stat. § 320.641.

          210.    BMW’s unnecessary and unreasonable changes to the franchise agreement, which

  penalize Plaintiffs on new vehicle pricing, hurt Braman’s bottom line and ability to compete, and

  will result in lost sales, lost service business, and lost profits.

          211.    Braman seeks a preliminary and permanent injunction against BMW’s unlawful

  modification of Braman’s franchise; namely, Braman seeks an order: (i) voiding the Added Value

  Program as an unlawful modification, (ii) requiring BMW to reinstitute the trading margin and

  structure enjoyed by Braman before BMW’s unlawful modification, and (iii) preventing BMW

  from modifying Braman’s dealer agreement further without complying with Fla. Stat. § 320.641.

          212.    Braman has been damaged by BMW’s unfair modifications in an amount to be

  determined at trial.

          WHEREFORE, Braman demands entry of a judgment against BMW: (1) for a preliminary

  and permanent injunction on behalf of the Department of Highway Safety and Motor Vehicles and

  the State of Florida, for the use and benefit of Braman, requiring BMW to restore the previous

  status quo through an order: (i) voiding the Added Value Program as an unlawful modification, (ii)



                                                      38
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 39 of 47




  requiring BMW to reinstitute the trading margin and structure enjoyed by Braman before BMW’s

  unlawful modification, and (iii) preventing BMW from modifying Braman’s dealer agreement

  further without complying with Fla. Stat. § 320.641; (2) for treble damages, attorneys’ fees and

  costs; and (3) for such other relief this Court deems just and equitable.


                                               COUNT VII
                         Violation of the Florida Dealer Act, Fla. Stat. § 320.646

         213.    Plaintiffs repeat and reallege paragraphs 1–131 as if fully set forth herein.

         214.    This is an action for damages pursuant to Fla. Stat. § 320.697 for BMW’s violation

  of Fla. Stat. § 320.646.

         215.    BMW has required, under threat of financial penalty, that Braman grant BMW

  direct or indirect access to Braman’s DMS so that BMW may obtain customer data stored there.

         216.    Moreover, the agreement BMW wants to force Braman to sign would require

  Braman to indemnify BMW for any resulting problems.

         217.    BMW’s conduct violates Fla. Stat. § 320.646.

         218.    Braman seeks a preliminary and permanent injunction against BMW’s unlawful

  requirement; namely, Braman seeks an order: (i) prohibiting BMW from requiring Braman to sign

  the data sharing agreement or otherwise taking any retaliatory action against Braman for Braman’s

  failure to sign the agreement, and (ii) preventing BMW from reinstituting any such data sharing

  agreement in the future.

         219.    Braman has been damaged by BMW’s unlawful requirement in an amount to be

  determined at trial.

         WHEREFORE, Braman demands entry of a judgment against BMW: (1) for a preliminary

  and permanent injunction on behalf of the Department of Highway Safety and Motor Vehicles and

  the State of Florida, for the use and benefit of Braman, through an order: (i) prohibiting BMW

                                                    39
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 40 of 47




  from requiring Braman to sign the data sharing agreement or otherwise taking any retaliatory

  action against Braman for Braman’s failure to sign the agreement, and (ii) preventing BMW from

  reinstituting any such data sharing agreement in the future (2) for treble damages, attorneys’ fees

  and costs; and (3) for such other relief this Court deems just and equitable.


                                           COUNT VIII
                    Violation of the Florida Dealer Act, Fla. Stat. § 320.696(6)

         220.    Plaintiffs repeat and reallege paragraphs 1–131 as if fully set forth herein.

         221.    This is an action for damages pursuant to Fla. Stat. § 320.697 for BMW’s violation

  of Fla. Stat. § 320.696(6).

         222.    Under Florida law, BMW is required to pay Braman retail rates on warranty labor

  and parts sales. See Fla. Stat. §§ 320.696(1), (2), (3) and (4).

         223.    Stated otherwise, Florida law does not permit BMW to pay less for warranty parts

  and labor than what the public pays Braman at retail for parts and labor.

         224.    An “Active Customer” is a “person who has returned to a given dealership at least

  once in the past 15 months for a [customer pay] or warranty vehicle service repair order that has

  generated revenue.” (emphasis added).

         225.    By definition, an Active Customer is a person who has returned to Braman for

  warranty work that generated revenue.

         226.    By measuring Braman’s ability to conquest Active Service Customers in its PMA

  and financially penalizing Braman if it falls below its Service Effectiveness benchmark, BMW is

  recovering its costs for reimbursing Braman at retail rates for warranty parts and service.

         227.    If Braman does not meet its Service Effectiveness, it forfeits 1.75% in margin. On

  a BMW that has a MSRP of $60,000, the loss in margin equals $1050.



                                                   40
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 41 of 47




         228.    The forfeiture of $1050 is a form of a warranty reimbursement surcharge prohibited

  by Florida law on each Active Customer who obtained labor or parts under warranty from Braman.

         229.    Under Fla. Stat. § 320.696(6), BMW is prohibited from recovering, directly or

  indirectly, any of its costs for compensating Braman at retail rates.

         230.    BMW’s conduct violates Fla. Stat. § 320.696(6).

         231.    Braman has been damaged by BMW’s unlawful attempt to recover BMW’s costs

  associated for compensating Braman under Florida law in an amount to be determined at trial.

         WHEREFORE, Braman demands entry of a judgment against BMW: (1) for treble

  damages, attorneys’ fees and costs; and (2) for such other relief this Court deems just and equitable.


                                             COUNT IX
                     Violation of the Florida Dealer Act, Fla. Stat. § 320.696(7)

         232.    Plaintiffs repeat and reallege paragraphs 1–131 as if fully set forth herein.

         233.    This is an action for damages pursuant to Fla. Stat. § 320.697 for BMW’s violation

  of Fla. Stat. § 320.696(7).

         234.    Under Fla. Stat. § 320.696(7), a manufacturer “shall not require, influence or

  attempt to influence a motor vehicle dealer to implement or change the prices for which it sells

  parts or labor in retail customer repairs.”

         235.    In addition to the above, Fla. Stat. § 320.696(7) prohibits manufacturers from

  “implement[ing] or continu[ing] a policy, procedure or program to any of its dealers in this state

  for compensation under this section which is inconsistent with this section.”

         236.    Through Service Effectiveness, BMW is attempting to influence the prices Braman

  charges for retail parts and labor sales, which, if successful, would drive down Braman’s warranty

  labor and parts rates.



                                                   41
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 42 of 47




         237.    In order to achieve Service Effectiveness and preserve the 1.75% margin associated

  with this measurement, Braman will have to reduce its prices for labor and parts to capture sales

  to customers who either work and/or reside outside of Braman’s PMA or work and/or reside in the

  outskirts of Braman’s PMA.

         238.    Under Florida law, Braman’s warranty parts and labor reimbursement is calculated

  using the same rates it charges to retail customers for “customer pay” labor and parts.

         239.    If Braman does not meet its Service Effectiveness, it forfeits 1.75% in margin. On

  a BMW that has a MSRP of $60,000, the loss in margin equals $1050.

         240.    BMW therefore is forcing Braman to choose between lowering its retail rates on

  labor and parts sales with the hope that it will be Service Effective or forfeit its margin tied to

  Service Effectiveness.

         241.    Even if Braman lowers its retail rates and captures more “customer pay” sales and

  is Service Effective, its warranty parts and labor rates will be reduced.

         242.    Service Effectiveness is an unlawful attempt by BMW to influence Braman’s retail

  labor and parts rates in direct violation of Fla. Stat §320.696(7).

         243.    BMW has also violated Fla. Stat. § 320.696(7) by implementing a compensation

  policy that is inconsistent with its obligations under Florida law.

         244.    Under Florida law, BMW is required to reimburse Braman for its warranty labor

  and parts sales at the rates Braman receives at retail.

         245.    The concept is simple; Braman repairs a vehicle under warranty and at no charge

  to the customer, and BMW compensates Braman for the work at the same rate it charges customers

  for repairs out-of-pocket.




                                                    42
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 43 of 47




             246.   Under Service Effectiveness, however, BMW has tied payment for warranty work

  to the vehicle’s margin, a concept completely at odds with the plain language of Fla. Stat. §

  320.696.

             247.   An “Active Customer” is a “person who has returned to a given dealership at least

  once in the past 15 months for a [customer pay] or warranty vehicle service repair order that has

  generated revenue.” (emphasis added).

             248.   By definition, an Active Customer is a person who has returned to Braman for

  warranty work that generated revenue.

             249.   The more Active Customers a dealership has, the higher its Service Effectiveness

  will be.

             250.   If Braman achieves Service Effectiveness, it will receive additional margin equal

  to 1.75% of the vehicle’s MSRP.

             251.   As applied to Active Customers who had warranty work performed on their

  vehicles, the additional payment of 1.75% is additional warranty labor and/or parts compensation

  for dealers who are Service Effective.

             252.   Conversely, withholding 1.75% in margin from dealers who are not Service

  Effective even though the dealer had Active Customers who had warranty worked performed on

  their vehicle is a per se rate reduction in the dealer’s warranty reimbursement rate.

             253.   The payment (or lack thereof) of additional margin based on warranty labor and

  parts sales is inconsistent with the Florida Dealer Act and its clear mandate to compensate dealers

  at retail rates for warranty labor and parts sales.

             254.   BMW’s establishment of warranty reimbursement inconsistent with the Florida

  Dealer Act is a separate and independent violation under Fla. Stat. 320.696(7).



                                                    43
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 44 of 47




         255.     Braman has been damaged by BMW’s violations of Fla. Stat. § 320.696(7) in

  amounts to be determined at trial.

         WHEREFORE, Braman demands entry of a judgment against BMW: (1) for treble

  damages, attorneys’ fees and costs; and (2) for such other relief this Court deems just and equitable.

                                               COUNT X
                                       Breach of Dealer Agreement

         256.     Plaintiffs repeat and reallege paragraphs 1–131 as if fully set forth herein.

         257.     This is an action for damages under the common law for BMW’s breach of the

  Dealer Agreement.

         258.     The Dealer Agreement incorporates by reference Standard Provisions therein, and

  is a valid and enforceable contract between Plaintiffs and BMW.

         259.     Plaintiffs has fully performed its obligations under the Dealer Agreement and is not

  in breach thereof.

         260.     Under the Standard Provisions, which have been expressly incorporated into and

  made a part of the Dealer Agreement, BMW expressly agreed to:

                  assist Dealer in Dealer’s BMW Operations through such means and
                  upon such terms and conditions as BMW NA considers necessary
                  and appropriate.

  Section 2(b).

         261.     BMW has breached the foregoing express provisions of the Dealer Agreement by,

  among other things: (1) inflating the cost of new vehicles due to lack of used BMW vehicle sales

  not contemplated by the Dealer Agreement, and (2) coercing Braman to punch RDRs.

         262.     The amount of damages that Plaintiffs has sustained to date, and will sustain in the

  future, as a result of BMW’s breaches will be proven at trial.




                                                   44
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 45 of 47




            WHEREFORE, Plaintiffs demands entry of a judgment against BMW for damages, costs,

  and for such other relief this Court deems just and equitable.

                                          COUNT XI
                    Breach of Implied Covenant of Good Faith and Fair Dealing

            263.   Plaintiffs repeat and reallege each of the foregoing paragraphs as if fully set forth

  herein.

            264.   This is an action for damages under the common law for BMW’s breach of the

  implied covenant of good faith and fair dealing.

            265.   The Dealer Agreement incorporates by reference Standard Provisions therein, and

  is a valid and enforceable contract between Plaintiffs and BMW.

            266.   Plaintiffs has fully performed its obligations under the Dealer Agreement and is not

  in breach thereof.

            267.   Under the Standard Provisions, which have been expressly incorporated into and

  made a part of the Dealer Agreement, BMW expressly agreed to:

                   assist Dealer in Dealer’s BMW Operations through such means and
                   upon such terms and conditions as BMW NA considers necessary
                   and appropriate.

  Section 2(b).

            268.   BMW has breached the implied covenant of good faith and fair dealing in the

  Dealer Agreement by, among other things: (1) inflating the cost of new vehicles due to used BMW

  vehicle sales not contemplated by the Dealer Agreement, (2) requiring Braman to hire an

  unnecessary amount of employees to provide an unnecessary service, (3) forcing Braman to

  increase the quantity of service customers by any means necessary, including at the sacrifice of

  quality, (4) requiring Braman to compete against other brands in vehicle segments that BMW does




                                                    45
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 46 of 47




  not offer, (5) requiring that Braman sign a data sharing agreement with unlawful provisions, and

  (6) coercing Braman to punch RDRs.

          269.       The amount of damages that Plaintiffs has sustained to date, and will sustain in the

  future, as a result of the conduct alleged herein in connection with this cause of action will be

  proven at trial.

          WHEREFORE, Plaintiffs demands entry of a judgment against BMW for damages, costs,

  and for such other relief this Court deems just and equitable.



                                      DEMAND FOR JURY TRIAL

          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs demands trial by

  jury in this action of all issues so triable.

  Dated: September 6, 2017
                                                   Respectfully submitted,


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                                                      46
Case 1:17-cv-23360-DPG Document 1 Entered on FLSD Docket 09/06/2017 Page 47 of 47




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                                       47
